                 Case 1:10-cr-00249-JLT-BAM
                                IN THE UNITEDDocument 375 Filed
                                              STATES DISTRICT   08/03/15 Page 1 of 1
                                                              COURT
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 1:10-cr-0249 AWI BAM

DARLING ARLETTE MONTALVO,

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      Darling Arlette Montalvo
Detained at            Snohomish Co. Jail, 3025 Oaks Av., Everett, WA 98201
Detainee is:           a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                 charging detainee with: 18 U.S.C. §§ 1349, 1341, 1957
                  or   b.)     ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☒ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

  Appearance is necessary on SEPTEMBER 8, 2015, at 10:00 a.m.(Ct. 2) (AWI) in the Eastern District of California.
                                       (Restitution Hearing)
                   Signature:                            /s/ Kirk E. Sherriff
                   Printed Name & Phone No:              Kirk E. Sherriff, (559) 497-4022
                   Attorney of Record for:               United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, for appearance at a Restitution Hearing in the
Eastern District of California on September 8, 2015, at 10:00 a.m. in Courtroom Two, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated:      August 3, 2015                                  /s/  Barbara A. McAuliffe
                                                            Hon. Barbara A. McAuliffe
                                                            U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if              Darling Arlette Sanchez                                            ☐Male      ☒Female
Booking or CDC #:       2015008542 (CIN 860523)                                            DOB:       12/23/1980
Facility Address:       3025 Oaks Ave., Everett, WA 98201                                  Race:      White
Facility Phone:         (425) 388-3395                                                     FBI#:      314802KD1
Currently               case #151013437 (Snohomish Co. Sup. Ct.)                           USM#:      65445-097

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
